     [NOT FOR PUBLICATION NOT TO BE CITED AS PRECEDENT]
               United States Court of Appeals
                   For the First Circuit

No. 98-2042

                      CHARLES RICHARDS,

                    Plaintiff, Appellant,

                              v.

                TRUSTEES OF THE UNIVERSITY OF
               MASSACHUSETTS, AMHERST, ET AL.,

                    Defendants, Appellees.

         APPEAL FROM THE UNITED STATES DISTRICT COURT

              FOR THE DISTRICT OF MASSACHUSETTS

          [Hon. Nancy Gertner, U.S. District Judge]

                            Before

                    Stahl, Circuit Judge,
              Campbell, Senior Circuit Judge,
                 and Lynch, Circuit Judge.

   Charles Richards on brief pro se.
   Geoffrey B. McCullough on brief for appellees Trustees of the
University of Massachusetts, Amherst.
   Robert B. Smith on brief for appellees Trustees of Boston
University.
   Alan D. Rose, Alan D. Rose, Jr. and Rose &amp;amp; Associates on brief
for appellees Trustees of the University of Pennsylvania.
   Donald K. Stern, United States Attorney, and John A. Capin,
Assistant U.S. Attorney, on brief for appellee United States
Department of Education.

June 21, 1999

          Per Curiam.  The judgment of dismissal is summarily
affirmed on the ground that plaintiff has failed to state a
claim.  See Fed. R. Civ. P. 12(b)(6).  We reject the assertion
that the district court acted "prematurely," and we find in any
event that plaintiff has had ample opportunity to set forth his
allegations.  Having scrutinized his various submissions, we
agree, for the reasons enumerated by defendants and relied on
by the district court, that dismissal was warranted.  With all
of plaintiff's well-pled factual averments accepted as true and
with all reasonable inferences drawn in his favor, no basis for
recovery has been established--whether under 42 U.S.C.  1983
or any of the other cited statutory provisions.  See, e.g.,
Rockwell v. Cape Cod Hosp., 26 F.3d 254, 260-61 (1st Cir. 1994);
The Dartmouth Review v. Dartmouth College, 889 F.2d 13, 16 (1st
Cir. 1989).
          Affirmed.  See Loc. R. 27.1. 
